        Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 1 of 29




            UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Wichita Docket)

UNITED STATES OF AMERICA,

                     Plaintiff,               Filed Under Seal

              v.                              CASE NO. 18- 10065 -01, 02, 03 - EFM

TYLER R. BARRISS,
SHANE M. GASKILL, and
CASEY S. VINER,

                     Defendants.




                             INDICTMENT

THE GRAND JURY ALLEGES:

                                      Introduction

       1.     At all times relevant to this Indictment, defendant TYLER R. BARRIS was

located in California.

       2.     At all times relevant to this Indictment, defendant CASEY S. VINER was

located in Ohio.

       3.     At all times relevant to this Indictment, defendant SHANE M. GASKILL

was located in Kansas.
          Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 2 of 29




       4.     At all times relevant to this Indictment, the Wichita Police Department

(WPD) and Sedgwick County Emergency Communications were located in Wichita,

Kansas.

       5.     For purposes of this Indictment, “swatting” occurs when someone makes a

telephone call to an emergency service to falsely report an ongoing critical or emergency

situation. Such calls are placed with the intent to convey false or misleading information,

under circumstances where the information is reasonably believed by the 911 dispatcher,

emergency service providers or first responders. By way of example, such calls may

involve allegations that a hostage crisis, shooting incident or arson has taken, is taking or

will take place. Such calls are placed with the intent to cause the deployment of special

weapons and tactics (“SWAT”) teams, bomb squads, and other police units, as well as

causing evacuations of targeted schools, businesses and/or residences. Such hoax or false

calls are made in order to harass individuals, a business, a school, or a government office,

and to disrupt the operations of targeted organizations and persons.

       6.     Beginning on or about December 28, 2017, in the District of Kansas and

elsewhere, defendants VINER and GASKILL played Call of Duty World War II – an on

line game – together but from different physical locations. Defendant GASKILL played

from Kansas, and defendant VINER from Ohio.

       7.     Defendant VINER became upset by events that occurred during the game,

events that he blamed on defendant GASKILL. The defendants argued via electronic

communications, and defendant VINER remained upset.
                                              2
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 3 of 29




      8.     Defendant VINER then contacted defendant BARRISS through electronic

communications and asked defendant BARRISS to “swat” defendant GASKILL at an

address that defendant GASKILL previously had provided to defendant VINER, which

was 1033 W. McCormick Street, Wichita, KS 67217. This address was not defendant

GASKILL’s true address.

      9.     Defendant BARRISS followed defendant GASKILL on Twitter, researching

and verifying that the address provided by defendant VINER was, in fact, the address for

a residence. Defendant BARRISS also identified a telephone number for the Wichita

Police Department.

      10.    Defendant GASKILL noticed that defendant BARRISS was following him

on Twitter. Defendant GASKILL then began communicating with defendant BARRISS

through direct electronic messages, starting at approximately 5:51 p.m. (Central Standard

Time) on December 28, 2017, as follows:

             Defendant GASKILL:          Please try some shit

             Defendant GASKILL:          I’ll be waiting

             Defendant GASKILL:          1033 w McCormick st Wichita Kansas 67217

             Defendant GASKILL:          I’ll have you in prison for 5 years buddy Casey
                                         already gave me all the proof I need bahahahahah

             Defendant GASKILL:          Hello pussy bitch say something

             Defendant BARRISS:          Hey

             Defendant BARRISS:          There was nothing for me to respond to

                                            3
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 4 of 29




    Defendant GASKILL:      Hurry up fuck boy

    Defendant BARRISS:      Just 1 question. May I ask what makes me a fuck
                            boy?

    Defendant GASKILL:      You’re gonna try and swat me its hilarious

    Defendant GASKILL:      I’m waiting buddy

    Defendant BARRISS:      What’s your age?

    Defendant GASKILL:      19 born June 30th 1998 [Information deleted for
                            purposes of this Indictment.]

    Defendant GASKILL:      814158320 is my ssn [Information deleted for
                            purposes of this Indictment.]

    Defendant GASKILL:      Try something please kid

    Defendant GASKILL:      None of you gaymers scare me

    Defendant GASKILL:      You have no idea who my family has
                            connections with

    Defendant GASKILL:      Hbaahahhahaha

    Defendant BARRISS:      There’s no way thats your SSN lol

    Defendant GASKILL:      You want proof bud

    Defendant BARRISS:      I’m not a gamer btw

    Defendant BARRISS:      Yes I do

    Defendant GASKILL:      Name is Shane Michael Gaskill

    Defendant GASKILL:      Look me up niqqa

    Defendant GASKILL:      I don’t got shit to hide

    Defendant GASKILL:      I’m out fuck boy
                               4
        Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 5 of 29




             Defendant BARRISS:          ?

             Defendant BARRISS:          Where’s the proof that that’s your SSN lol and
                                         wym you’re out?

             Defendant GASKILL:          If you don’t believe me idc kid

             Defendant GASKILL:          I gave you everything you need to try something
                                         so hurry TF up

             Defendant GASKILL:          goodbye.

      11.    At approximately 6:10 or 6:11 p.m., defendant BARRISS (who was located

in California) began a series of calls to the Wichita Police Department (WPD)’s downtown

security desk in Wichita, Kansas. To disguise his identity, defendant BARRISS acquired

an assigned telephone number from TextNow so it appeared to Wichita emergency

personnel (with caller id) that defendant BARRISS was using a telephone with a “316”

area code, the area code that includes Wichita, Kansas.

      12.    Defendant BARRISS made telephone calls to the WPD, at 6:10 or 6:11 p.m.,

6:15 or 6:16 p.m., and 6:17 p.m. During one of these calls, defendant BARRISS identified

himself as “Brian” to the WPD security officer who answered the phone. According to the

security officer, “Brian” asked if the number he called was the police department, then

reported that his mother struck his father with a gun. The security officer put defendant

BARRISS on hold and attempted to transfer each call to the 9-1-1 system operated by

Sedgwick County Emergency Communications (County). The only successful transfer

occurred with the 6:17 p.m. telephone call.



                                              5
        Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 6 of 29




       13.    At approximately 6:18 p.m., a County employee (dispatcher) received the

call transferred from the WPD. The dispatcher asked the caller for the location of the

emergency. Defendant BARRISS stated that he was at 1033 W. McCormick where “I [he]

just shot my dad in the head. ‘Cause. He was arguing with my mom and it was getting

way out of control.” The dispatcher asked defendant BARRISS to confirm the address,

which defendant BARRISS did, as well as adding that it was a house and he was holding

his mother and brother at gunpoint “in a closet right now” to ensure they not go anywhere.

Defendant BARRISS identified himself as “Ryan” and he eventually stated “I didn’t really

mean to kill my dad.” The dispatcher asked defendant BARRISS if he could see his dad

“right now.” Defendant BARRISS said yes, his dad was “on the floor dead” and “not

breathing.” Soon thereafter, defendant BARRISS informed the dispatcher that he was

considering lighting the house on fire before committing suicide. This call eventually

disconnected, but the dispatcher was unable to call defendant BARRISS back because the

dispatcher had not been able to obtain the number from caller ID (the number did not show

up after the call was transferred by the WPD security officer).

       14.    The County dispatched a response team of law enforcement officers to 1033

W. McCormick Street as a direct result of defendant BARRISS’s telephone call. These

officers initially believed they were responding to a self-inflicted shooting. Shortly

thereafter, dispatch notified the officers that this was not correct, the calling party reported

that he shot his dad in the head and that dad was not breathing. When the officers arrived

in the area, they established a perimeter around 1033 W. McCormick Street. At some point
                                               6
        Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 7 of 29




thereafter, the front door opened and a man, later identified as A.F., stepped onto the front

porch. At approximately 6:28 p.m., a shot was fired that caused the death of A.F.

       15.    At approximately 6:35 and 6:37 p.m. defendant BARRISS called the WPD

security officer again. During one of the calls, the WPD security officer asked defendant

BARRISS for his name and phone number. Defendant BARRISS provided the name

“Brian” and a telephone number that started with area code “316.” In the final call, the

WPD security officer advised defendant BARRISS to hang up so the County dispatcher

could call him. The WPD security officer provided the “316” telephone number to the

County dispatcher.

       16.    At approximately 6:39 p.m. the County dispatcher called defendant

BARRISS. The following dialogue occurred –

              Defendant BARRISS:          Hello.

              County Dispatcher:          This is 911 what’s going on? Hello.

              Defendant BARRISS:          Yeah.

              County Dispatcher:          This is 911 what’s going on.

              Defendant BARRISS:          Um, I recently got disconnected, I had told you
                                          guys everything that happened about the
                                          argument with my mom and dad.

              County Dispatcher:          Ok. What’s your address? Hello.

              Defendant BARRISS:          Yeah. 1033 West McCormick Street.

              County Dispatcher:          Ok. Tell me exactly what happened.



                                             7
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 8 of 29




    Defendant BARRISS:      They were arguing and I shot him in the head and
                            he’s not breathing anymore.

    County Dispatcher:      Okay, so what’s going on right now? Brian are
                            you there?

    Defendant BARRISS:      Yeah.

    County Dispatcher:      Okay, do you have any weapons on you?

    Defendant BARRISS:      Yeah, I do.

    County Dispatcher:      What kind of weapons do you have?

    Defendant BARRISS:      Um, a handgun.

    County Dispatcher:      What kind of handgun is it?

    Defendant BARRISS:      I don’t know it’s my dad’s.

    County Dispatcher:      What color is it?

    Defendant BARRISS:      It’s black.

    County Dispatcher:      Where exactly are you at in the house?

    Defendant BARRISS:      Um, by the closet.

    County Dispatcher:      Okay, what closet?

    Defendant BARRISS:      My mom’s.

    County Dispatcher:      Where’s that at in the house?

    Defendant BARRISS:      Uh, in her room. Which is where she’s at and my
                            little brother.

    County Dispatcher:      You have a little brother?

    Defendant BARRISS:      Yeah

                               8
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 9 of 29




    County Dispatcher:      What’s your brother’s name?

    Defendant BARRISS:      Alex. I was on the phone with you guys earlier
                            um, telling you guys about it I just, I got
                            disconnected.

    County Dispatcher:      Okay. We’re gonna try to get you some help um,
                            where exactly in the house like is this a one story
                            or two story house?

    Defendant BARRISS:      It’s one story.

    County Dispatcher:      Okay, is it towards the front of the house, the
                            back of the house? Is it towards the front of the
                            house, the back of the house?

    Defendant BARRISS:      Um, well like it’s, it’s like towards the back I
                            guess. I’m just pointing the gun at them making
                            sure they stay in the closet. My mom and my
                            little brother.

    County Dispatcher:      Okay, is there any way you can put the gun up?

    Defendant BARRISS:      No, are you guys sending someone over here
                            cause then I’m definitely not gonna put it away.

    County Dispatcher:      Okay, I’m just gonna go ahead and stay on the
                            phone with you okay?

    Defendant BARRISS:      That’s fine. Until they get here or?

    County Dispatcher:      As long as you need me to okay?

    Defendant BARRISS:      Yeah, I’m thinking about, um, cause I already
                            poured gasoline all over the house I might just
                            set it on fire.

    County Dispatcher:      Okay, well we don’t need to do that okay?

    Defendant BARRISS:      In a little bit I might.

                               9
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 10 of 29




              County Dispatcher:             Why would you do that?

              Defendant BARRISS:             Do you have my address correct?

              County Dispatcher:             Can you verify it for me again?

              Defendant BARRISS:             Um, it’s 1033 West McCormick street, um, my
                                             zip code is 67213.

              County Dispatcher:             Okay. So which way does your house face like
                                             does your front door face north, south, east,
                                             west?

              Defendant BARRISS:             Uh, no, it’s just facing the street. My dad isn’t
                                             breathing it’s kind of giving me anxiety making
                                             me like paranoid. Hello.
              ...

Shortly thereafter, the call disconnected.

       17.    At approximately 7:50 p.m., defendants BARRISS and GASKILL had the

following exchange through electronic communications:

              Defendant GASKILL:             Hi skid

              Defendant BARRISS:             [clown emoji]

              Defendant GASKILL:             So let’s try again

              Defendant GASKILL:             You have my address do what you please with it

              Defendant GASKILL:             And btw tell dumb ass Casey nobody got swatted
                                             this shit has me dying

              Defendant GASKILL:             LMFAO kid is so delusional

              Defendant BARRISS:             Lol

              Defendant BARRISS:             ight whatever unswattable god

                                               10
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 11 of 29




     Defendant BARRISS:      You win gg

     Defendant BARRISS:      I failed

     Defendant GASKILL:      I’ve got swatted before

     Defendant GASKILL:      And anytime something happens I get a phone
                             call to make sure everything is ok 1st

     Defendant GASKILL:      If not then they show up

     Defendant BARRISS:      I know the police went

     Defendant BARRISS:      That’s all

     Defendant GASKILL:      Look him up his name is Greg he’s a Wichita
                             police lieutenant

     Defendant BARRISS:      Cool lemme just look up Greg

     Defendant GASKILL:      K

     Defendant GASKILL:      What you guys don’t understand is you never
                             swatted me bahahahah

     Defendant GASKILL:      This is comedy

     Defendant BARRISS:      Okay well shes gonna get swatted cause of you s

     Defendant BARRISS:      So

     Defendant GASKILL:      Did you look him up

     Defendant BARRISS:      Yo answer me this

     Defendant BARRISS:      Did police show up to your house yes or no

     Defendant GASKILL:      No dumb fuck

     Defendant BARRISS:      Lmao here’s how I know you’re lying

                                 11
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 12 of 29




      18.    Defendant BARRISS then posted a screenshot, at 7:58 p.m., of the following

direct message conversation between defendants GASKILL and VINER:

             Defendant VINER:          Oi

             Defendant GASKILL:        Hi

             Defendant VINER:          Did anyone show @ your house?

             Defendant VINER:          Be honest

             Defendant GASKILL:        Nope

             Defendant GASKILL:        The cops are at my house because someone ik
                                       just killed his dad

      19.    Defendants BARRISS and GASKILL then continued their conversation, via

Twitter direct messages, as follows:

             Defendant GASKILL:        They showed up to my old house retard

             Defendant BARRISS:        That was the call script

             Defendant BARRISS:        Lol

             Defendant GASKILL:        Your literally retarded

             Defendant GASKILL:        Ik dumb ass

             Defendant BARRISS:        So you just got caught in a lie

             Defendant GASKILL:        No I played along with you

             Defendant GASKILL:        They showed up to my old house that we own
                                       and rented out

             Defendant GASKILL:        We don’t live there anymore bahahaha



                                          12
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 13 of 29




     Defendant BARRISS:      Then you’re not as big and as bad as you
                             thought?
     ….

     Defendant BARRISS:      Cause you were acting tough

     Defendant GASKILL:      Bahaah

     Defendant GASKILL:      2ez buddy

     Defendant BARRISS:      But gave an old address

     Defendant BARRISS:      Its okay you got swatted man dont worry

     Defendant GASKILL:      So do you wanna try again?

     Defendant GASKILL:      LMFAO

     Defendant BARRISS:      So did @Impetrating

     Defendant GASKILL:      I didn’t get swatted Imfiaiahshhdhs

     Defendant GASKILL:      You have my name

     Defendant GASKILL:      Look it up for yourself

     Defendant GASKILL:      ik you just wasted your time and now your pissed

     Defendant BARRISS:      Not really

     Defendant BARRISS:      Once you said “killed his dad” I knew it worked
                             lol

     Defendant BARRISS:      That was the call lol

     Defendant GASKILL:      Yes it did buy they never showed up to my house

     Defendant GASKILL:      You guys got trolled

     Defendant GASKILL:      Look up who live there we moved out almost a
                             year ago
                               13
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 14 of 29




     Defendant GASKILL:      I give you props though you’re the 1% that can
                             actually swat babahaha

     Defendant BARRISS:      Dude MY point is
                             You gave an address that you dont live at but you
                             were acting tough lol

     Defendant BARRISS:      So you’re a bitch

     ….

     Defendant BARRISS:      And if you really wanted me in jail why give a
                             fake address?????

     Defendant BARRISS:      (Three crying/laughing emojis)

     Defendant GASKILL:      He has my main address he pulled my IP

     Defendant GASKILL:      He’s the 1 who fell for the trick

     Defendant BARRISS:      Man I’m so confused rn

     Defendant GASKILL:      OK.

     Defendant GASKILL:      He pulled my ip and said he could vet me swatted

     Defendant GASKILL:      So I gave him my old address to see what would
                             happen and the house got swatted

     Defendant BARRISS:      Hmm

     Defendant GASKILL:      If anything happens at that house we get a phone
                             call since my uncle works on that side of Wichita

     Defendant GASKILL:      And indeed the house for swatted that’s why I’m
                             laughing so hard

     Defendant GASKILL:      He has my address and could’ve gave it to you
                             buy he’s retarded

                               14
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 15 of 29




     Defendant BARRISS:      You think he has your address just because he
                             has your IP?

     Defendant BARRISS:      “And indeed the house for swatted that’s why
                             I’m laughing so hard”
                             what? Wym “for swatted”

     Defendant GASKILL:      I’ve told him before and he can get it from my ip

     Defendant GASKILL:      The cops showed up at the house but I got a
                             phone call before it happened that’s why I’m
                             laughing

     Defendant BARRISS:      Hmmmmm

     Defendant BARRISS:      If you actually received a call before they went
                             I’m surprised

     Defendant GASKILL:      I did how do you think I they showed up he was
                             at the house while on the phone with my dad

     Defendant BARRISS:      Lolmfao

     Defendant GASKILL:      Anyways good job but you failed the mission
                             because I trolled the fuck out of you guys

     Defendant BARRISS:      Lowkey

     Defendant GASKILL:      have a good day :)

     Defendant BARRISS:      u2

     Defendant GASKILL:      You might wanna delete your tweets lol

     Defendant BARRISS:      I don’t

     Defendant BARRISS:      Want to

     Defendant GASKILL:      That’s fine doesn’t matter to me



                               15
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 16 of 29




      20.    At 9:51 p.m., after the shooting had been reported by media, defendant

GASKILL initiated the following Twitter direct message conversation with defendant

BARRISS:

             Defendant GASKILL:          Dm asap

             Defendant GASKILL:          Please it’s very fucking impi

             Defendant GASKILL:          Hello

             Defendant BARRISS:          ?

             Defendant BARRISS:          What you want

             Defendant GASKILL:          Dude

             Defendant GASKILL:          Me you and bape

             Defendant GASKILL:          Need to delete everything

             Defendant GASKILL:          This is a murder case now

             Defendant GASKILL:          Casey deleted everything

             Defendant GASKILL:          You need 2 as well

             Defendant GASKILL:          This isn’t a joke K troll anymore

             Defendant GASKILL:          If you don’t you’re literally retarded I’m trying
                                         to help you both out

             Defendant GASKILL:          They know it was swat call

      21.    On December 29, 2017, defendant VINER sent a screenshot of an internet

search for “wichita [sic] kansas [sic] shooting” to another person (identified as J.D. for

purposes of this Indictment). Defendant VINER asked J.D. if “[i]t’s on those websites

                                             16
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 17 of 29




does that mean it’s real. [sic]” J.D. responded that “[i]t’s a real incident. Doesn’t say if

related to game stuff.” Defendant VINER then sent J.D. a screenshot of a Facebook page

with a link to a news video recording about these events and a post which read --

         “Some guy i [sic] know on Call of Duty named baperize got Swautisitic
         [sic] to swat this guys [sic] house because he lost a call of duty
         tournament on gamebattles and got him killed. WTF is wrong with
         people”

Then, the following text communications occurred:

              Defendant VINER:            It says at the top it was due to apparently losing
                                          a tournament and doing it when I won the
                                          tournament

              Defendant VINER:            First off and it had nothing to do with it

              J.D.:                       That’s someone’s opinion. Not what the article
                                          says. Relax

              Defendant VINER:            It doesn’t matter, the investigation will literally
                                          unveil everything, the guy who was “swatted”
                                          has Twitter screenshots of every conversation

              J.D.:                       Ok

              J.D.:                       Hopefully you didn’t say anything stupid

              Defendant VINER:            I did, I literally said you’re gonna be swatted.
                                          Not thinking at all, so I’m going to prison.

              Defendant VINER:            And then after that he messaged the guy who
                                          actually did it and said nothing happened that he
                                          swatted hi [sic] old house and that he got a phone
                                          call first

              J.D.:                       Relax



                                             17
Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 18 of 29




     J.D.:                   If that is all you said, I wouldn’t worry to much
                             about it

     Defendant VINER:        I literally said you’re gonna be swatted, and the
                             guy who swatted him can easily say I convinced
                             him or something when I said hey can you swat
                             this guy and then gave him the address and he
                             said yes and then said he’d do it for free because
                             I said he doesn’t think anything will happen

     Defendant VINER:        How can I not worry when I googled what
                             happens when you’re involved and it said a eu
                             [sic] kid and a US person got 20 years in prison
                             min

     Defendant VINER:        And he didn’t even give his address he gave a
                             false address apparently

     J.D.:                   You didn’t call the hoax in…

     Defendant VINER:        Does t [sic] even matter ?????? I was involved I
                             asked him to do it in the first place

     Defendant VINER:        I gave him the address to do it, but then again so
                             did the other guy he gave him the address to do
                             it as well and said do it pull up etc

     J.D.:                   Guess we’ll find out. I actually thought that
                             having swat called on us would have been a
                             clue…… Did you think I was kidding when I
                             said I talked to Cincinnati swat guys?

     Defendant VINER:        Idk, nothing happened so I don’t know. the
                             swautistic guy is a known swatted [sic] he
                             swatted a major gaming event and nothing’s
                             happened to him, he’s literally off the radar or
                             whatever where the guy who was supposed to be
                             swatted posted that fake dox that I told you about
                             before and if that’s the Case it won’t be long till
                             they figure out our address from it and come

                               18
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 19 of 29




       22.      During a forensic examination of defendant VINER’s iPhone, the text

communications described in the previous paragraph were found and it was determined

that defendant VINER’s iPhone was factory reset at some point.

       23.      Defendant VINER sent outgoing iMessages to unknown persons on

December 29, 2017, that were deleted. These iMessages include the following:

                Defendant VINER:          I was involved in someone’s death

                Defendant VINER:          Idk… I got pissed off at him he got pissed at me..
                                          he gave me his address and said pull up and I said
                                          I won’t be the one pulling up you’re getting
                                          swatted… I then gave the guy his address and
                                          then the guy followed miruhcle on twitter and as
                                          soon as he followed on Twitter miruhcle send
                                          him the address and says pull up to him or do
                                          something

       24.      No one named “Ryan” or “Brian” lived at 1033 W. McCormick on December

28, 2017. No one had been shot inside the house, no hostages were being held, and there

was no gasoline poured all over the house, nor was anyone inside threatening suicide.

Defendant BARRISS made false allegations to the WPD and the Sedgwick County

Emergency Communications in phone calls that occurred between the hours of 6:10 p.m.

and 6:39 p.m.

       25.      To make these false telephone calls to the WPD and the County on December

28, 2017, defendant BARRISS utilized interstate electronic communication services.

       26.      To communicate with each other on December 28, 2017, all three defendants

utilized interstate electronic communication services.

                                            19
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 20 of 29




THE GRAND JURY CHARGES:

                                        Count One

                                     18 U.S.C. § 1038
                             (False Information and Hoaxes)

       That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendant,

                                  TYLER R. BARRISS,

intentionally conveyed false and misleading information under circumstances where such

information may reasonably have been believed, that indicated that an activity had taken,

was taking and would take place that would constitute a violation of chapter 44 of Title 18,

United States Code (namely, Title 18, United States Code, Section 844(e)), and another

person’s death resulted, that is, defendant BARRISS placed hoax telephone calls to

emergency services in Wichita, Kansas, falsely claiming that he shot another person, held

hostages at gunpoint, was armed with a firearm and might set the house at 1033 W.

McCormick Street on fire, with those false calls resulting in the fatal shooting of a resident

of that address.

       All in violation of Title 18, United States Code, Sections 1038(a)(1)(C) and 2.

                                        Count Two

                                    18 U.S.C. § 2261A
                                     (Cyberstalking)

       That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendant,
                                             20
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 21 of 29




                                 TYLER R. BARRISS,

with the intent to harass and intimidate another, did intentionally use an electronic

communication service of interstate commerce to engage in a course of conduct that caused

and would be reasonably expected to cause substantial emotional distress to another and

resulted in the death of another, that is, defendant BARRISS placed telephone calls which

communicated that he shot another person, held hostages at gunpoint, and might set the

house at 1033 W. McCormick Street on fire which resulted in the fatal shooting of a

resident at that address.

       All in violation of Title 18, United States Code, Sections 2261A and 2.

                                     Count Three

                                   18 U.S.C. § 844(e)
              (Threatening to Kill Another or Damage Property by Fire)

       That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendant,

                                 TYLER R. BARRISS,

through the use of the telephone and other instruments of interstate commerce, in and

affecting interstate commerce, willfully made a threat, and maliciously conveyed false

information knowing the information to be false, concerning an alleged attempt to injure

and intimidate another and unlawfully damage real property by fire, that is, defendant

BARRISS placed hoax telephone calls from California to the Wichita Police Department

and Sedgwick County Emergency Communications in Wichita, Kansas, falsely claiming

                                            21
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 22 of 29




that he shot another person, held hostages at gunpoint and might set the house at 1033 W.

McCormick on fire.

         All in violation of Title 18, United States Code, Sections 844(e) and 2.

                                      Count Four

                                   18 U.S.C. § 875(c)
                                  (Interstate Threats)

      That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendant,

                                TYLER R. BARRISS,

knowingly and willfully transmitted in interstate commerce a communication containing a

threat to injure the person of another, that is, defendant BARRISS “swatted” defendant

GASKILL, by placing hoax telephone calls from California to the Wichita Police

Department and Sedgwick County Emergency Communications in Wichita, Kansas.

      All in violation of Title 18, United States Code, Sections 875(c) and 2.

                             Counts Five through Eleven

                                    18 U.S.C. § 1343
                                     (Wire Fraud)

      That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendants,

                              TYLER R. BARRISS, and
                                CASEY S. VINER,



                                            22
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 23 of 29




having devised and intending to devise a scheme and artifice to defraud, and in order to

execute the scheme and artifice, did knowingly and willfully transmit and cause to be

transmitted by means of wire communications in interstate commerce sounds and signals

as described below for each count, that is, the defendants transmitted and caused to be

transmitted false and fraudulent information to the Wichita Police Department and to

Sedgwick County Emergency Services that an emergency situation existed at 1033 W.

McCormick Street, and such communications caused law enforcement resources and the

services of law enforcement officers to be sent to and used at that location when the

defendants knew that emergency services were not required or needed:

    Count              Time                     Caller                Recipient
      5           6:10 - 6:11 p.m.      Defendant BARRISS        WPD Security Officer
      6           6:15 – 6:16 p.m.      Defendant BARRISS        WPD Security Officer
      7              6:17 p.m.          Defendant BARRISS        WPD Security Officer
      8              6:18 p.m.         WPD Security Officer       Sedgwick County
                                       (transfer for defendant       Emergency
                                             BARRISS)             Communications
       9             6:35 p.m.          Defendant BARRISS        WPD Security Officer
      10          6:36 - 6:37 p.m.      Defendant BARRISS        WPD Security Officer
      11             6:39 p.m.            Sedgwick County        Defendant BARRISS
                                             Emergency
                                          Communications


      All in violation of Title 18, United States Code, Sections 1343 and 2.




                                           23
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 24 of 29




                                       Count Twelve

                                      18 U.S.C. § 371
                                       (Conspiracy)

       That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendants,

                                TYLER R. BARRISS, and
                                  CASEY S. VINER,

did knowingly and voluntarily conspire with each other (A) to convey false and misleading

information in violation of the provisions of Title 18, United States Code, Section 1038,

(B) to knowingly and willfully transmit in interstate commerce a communication in

violation of the provisions of Title 18, United States Code, Section 875(c), (C) to use

electronic facilities of interstate commerce in violation of the provisions of Title 18, United

States Code, Section 2261A, and (D) to use wire communications to devise a scheme and

artifice to defraud, and to execute such scheme and artifice in violation of Title 18, United

States Code, Section 1343, all of which are crimes against the United States, and said

defendants did at least one act to effect the object of the conspiracy.

       In furtherance of the conspiracy and to achieve the objects thereof, the defendants

committed and caused to be committed at least one overt act, that is,

       1.     Defendant VINER requested that defendant BARRISS swat defendant

GASKILL;

       2.     Defendant BARRISS agreed to swat defendant GASKILL;


                                              24
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 25 of 29




      3.     Defendant VINER provided an address for defendant GASKILL (1033 W.

McCormick Street, Wichita, Kansas) and defendant GASKILL’s user name to defendant

BARRISS;

      4.     Defendant BARRISS researched a telephone number for the Wichita Police

Department, located in Wichita, Kansas;

      5.     Defendant BARRISS researched the McCormick Street address;

      6.     Defendant BARRISS disguised his telephone number to make it falsely

appear he was calling from a number starting with a 316 area code;

      7.     Defendant BARRISS placed at least one telephone call to the Wichita Police

Department, located in Wichita, Kansas;

      8.     Defendant BARRISS conveyed false information about himself and events

to an employee of the Wichita Police Department at least once;

      9.     Defendant BARRISS participated in at least one telephone call with

Sedgwick County Emergency Communications, located in Wichita, Kansas;

      10.    Defendant BARRISS conveyed false information about himself and events

occurring at the McCormick Street address to an employee of Sedgwick County

Emergency Communications at least once.

      All in violation of Title 18, United States Code, Section 371.




                                           25
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 26 of 29




                                     Count Thirteen

                                  18 U.S.C. § 1512(c)(1)
                                 (Obstruction of Justice)

       That beginning on and about December 28, 2017, in the District of Kansas and

elsewhere, the defendant,

                                 CASEY S. VINER, and
                                 SHANE M. GASKILL,

did corruptly alter and destroy a record and object, and attempt to do so, with the intent to

impair its integrity and availability for use in an official proceeding, in that, defendant

VINER deleted electronic communications with defendants BARRISS and GASKILL

when defendant VINER became aware that a person had been fatally shot as a result of the

swatting and that law enforcement was investigating the hoax telephone calls initiated and

completed by defendants VINER and BARRISS, and defendant VINER was aided,

abetted, counseled and induced to do so by defendant GASKILL.

       All in violation of Title 18, United States Code, Sections 1512(c)(1) and 2.

                                     Count Fourteen

                                  18 U.S.C. § 1512(c)(1)
                                 (Obstruction of Justice)

       That beginning on and about December 28, 2017, in the District of Kansas, the

defendant,

                                 SHANE M. GASKILL,



                                             26
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 27 of 29




did corruptly alter and destroy a record and object, and attempt to do so, with the intent to

impair its integrity and availability for use in an official proceeding, in that, defendant

GASKILL deleted electronic communications with defendants BARRISS and VINER,

when defendant GASKILL became aware that law enforcement was investigating the hoax

telephone calls initiated and completed by defendants VINER and BARRISS.

       All in violation of Title 18, United States Code, Sections 1512(c)(1) and 2.

                                      Count Fifteen

                                  18 U.S.C. § 1512(c)(1)
                                 (Obstruction of Justice)

       That beginning on and about December 28, 2017, in the District of Kansas, the

defendant,

                                 SHANE M. GASKILL,

did corruptly attempt to alter and destroy a record and object with the intent to impair its

integrity and availability for use in an official proceeding, in that, defendant GASKILL

urged defendant BARRISS to delete electronic communications with defendants

GASKILL and VINER when defendant GASKILL became aware that law enforcement

was investigating the hoax telephone calls initiated and completed by defendants VINER

and BARRISS.

       All in violation of Title 18, United States Code, Sections 1512(c)(1) and 2.




                                             27
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 28 of 29




                                          Count Sixteen

                                      18 U.S.C. § 1512(k)
                                (Conspiracy to Obstruct Justice)

       That beginning on and about December 28, 2017, in the District of Kansas and

elsewhere, the defendants,

                                   SHANE M. GASKILL, and
                                      CASEY S. VINER,

did knowingly combine, conspire and agree together and with others known to the Grand

Jury, to commit an offense against the United States, to-wit: to corruptly destroy and

conceal a document and other object, and attempt to do so, with the intent to impair the

object’s availability for use in an official proceedings, that is, to delete and conceal direct

messages between defendants GASKILL, VINER and BARRISS when the defendants

became aware that a person had been fatally shot as a result of the swatting and that law

enforcement was investigating the hoax telephone calls initiated and completed by

defendants VINER and BARRISS.

       All in violation of Title 18, United States Code, Section 1512(k).

                                     Count Seventeen

                                      18 U.S.C. § 1343
                                       (Wire Fraud)

       That beginning on and about December 28, 2017, in the District of Kansas, and

elsewhere, the defendant,

                                  SHANE M. GASKILL,

                                              28
       Case 6:18-cr-10065-EFM Document 1-1 Filed 05/22/18 Page 29 of 29




having devised and intending to devise a scheme and artifice to defraud, and in order to

execute the scheme and artifice, did knowingly and willfully transmit and cause to be

transmitted by means of wire communications in interstate commerce sounds and signals,

that is, defendant GASKILL falsely told defendant BARRISS that defendant GASKILL

currently lived at 1033 W. McCormick Street in Wichita, Kansas, when defendant

GASKILL knew that information was false, defendant GASKILL knew that defendant

BARRISS intended to swat defendant GASKILL at the McCormick Street address,

defendant GASKILL explicitly taunted and dared defendant BARRISS to conduct the

swat, and defendant GASKILL knew that if the swat was successful emergency services

would be sent to the McCormick address unnecessarily.

      All in violation of Title 18, United States Code, Section 1343.

                                           A TRUE BILL


May 22, 2018                               s/Foreperson
DATE                                       FOREPERSON OF THE GRAND JURY


 s/Stephen R. McAllister
STEPHEN R. McALLISTER
United States Attorney
District of Kansas
1200 Epic Center, 301 N. Main
Wichita, Kansas 67202
(316) 269-6481
Ks. S. Ct. No. 15845
stephen.mcallister@usdoj.gov



                      It is requested that the trial
                                                29
                                                     be held in Wichita, KS
